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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                        CRIMINAL ACTION

 VERSUS                                                          NO. 12-266

 DON M. ANDREW, JR.                                              SECTION: “E” (2)



                                ORDER AND REASONS
         Before the Court is Defendant Don M. Andrew’s Motion to Vacate, Set Aside, or

Correct Sentence Pursuant to 28 U.S.C. § 2255. 1 The Government opposes the motion. 2

For the following reasons, the motion is DENIED.

                                   BACKGROUND

         On October 4, 2012, Defendant Don M. Andrew, Jr., (“Andrew”) was charged in a

twenty-seven count indictment. 3 On December 4, 2014, Andrew pleaded guilty to Counts

1 through 16 of the Fourth Superseding Bill of Information. 4 Specifically, Andrew pleaded

guilty to Conspiracy to Commit Arson (Count 1); Conspiracy to Commit Mail and Wire

Fraud (Count 2); Mail Fraud (Counts 3–8); Wire Fraud (Counts 9–12); Arson (Counts 13

and 16); Use of Fire to Commit a Felony (Count 14); and Mail Fraud (Count 15). 5 On

February 25, 2015, Andrew was sentenced to 240 months in prison pursuant to a Rule

11(c)(1)(C) plea agreement. 6




1 R. Doc. 329.
2 R. Doc. 333.
3 R. Doc. 1.
4 R. Doc. 186.
5 R. Doc. 181.
6 R. Doc. 300.


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           Andrew filed a direct appeal with the Fifth Circuit. 7 On April 11, 2016, the Fifth

Circuit affirmed the judgment of conviction on the grounds that Andrew’s right to appeal

was knowingly and voluntarily waived in his plea agreement. 8 On April 4, 2017, Andrew,

proceeding pro se, filed this motion to vacate, set aside, or correct sentence pursuant to

Title 28, United States Code, Section 2255. 9 In his motion, Andrew asserts: (1) the

evidence on the record is insufficient to support his conviction, and (2) his attorney

pressured him to sign the plea agreement. 10

           In its Opposition, the Government argues Andrew’s sufficiency of the evidence is

not cognizable on § 2255 review because he waived his rights to collateral review in his

plea agreement. 11 The Government also argues Andrew is procedurally barred from

bringing a sufficiency of the evidence claim for the first time on collateral review, and that

Andrew’s sworn statements at his rearraignment and sentencing hearings refute his

claims. 12

                                       LEGAL STANDARD

           Under 28 U.S.C. § 2255, a federal prisoner may move the court that imposed his

sentence to vacate, set aside or correct the sentence. 13 Section 2255 identifies only four

bases on which the motion may be made: (1) the sentence was imposed in violation of the

Constitution or laws of the United States; (2) the court was without jurisdiction to impose

the sentence; (3) the sentence exceeds the statutory maximum sentence; or (4) the




7 United States v. Andrew, 667 F. App’x 841 (5th Cir. 2016); R. Doc. 235.
8 Id. at 336–37.
9 R. Doc. 316.
10 Id.
11 R. Doc. 333.
12 Id.
13 28 U.S.C. § 2255(a) (2008).


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sentence is “otherwise subject to collateral attack.” 14 A claim of error that is neither

constitutional nor jurisdictional is not cognizable in a Section 2255 proceeding unless the

error constitutes a “fundamental error” that “renders the entire proceeding irregular or

invalid.” 15

           As mandated by Rule 4 of the Rules Governing Section 2255 Proceedings, the Court

must examine a Section 2255 motion promptly and “if it plainly appears from the motion,

any attached exhibits, and the record of prior proceedings that the moving party is not

entitled to relief, the judge must dismiss the motion and direct the clerk to notify the

moving party.” 16 If the motion raises a non-frivolous claim to relief, the Court must order

the Government to file a response or take other appropriate action. 17 Should the Court

find that there is a need to expand the record, with good cause shown, limited discovery

can be authorized. 18 After reviewing the Government’s response and the record, the Court

must determine whether an evidentiary hearing is warranted. 19 An evidentiary hearing

need not be held if “the motion and the files and records of the case conclusively show

that the prisoner is entitled to no relief.” 20 Furthermore, no evidentiary hearing is

required if the prisoner fails to produce any “independent indicia of the likely merit of his

allegations.” 21

           As stated by Judge Vance in Caston:

           Ultimately, the petitioner bears the burden of establishing his claims of
           error by a preponderance of the evidence. For certain “structural” errors,

14 Id.; see also United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996).
15 United States v. Addonizio, 442 U.S. 178, 185 (1979).
16 Rules Governing Section 2255 4(b).
17 Id.
18 Rules Governing Section 2255 6–7.
19 Rules Governing Section 2255 8.
20 28 U.S.C. § 2255(b).
21 United States v. Balderas, 2014 WL 345287, at *2 (E.D. La. Jan. 27, 2014) (citing United States v. Caston,

2013 WL 3933400 (E.D. La. July 30, 2013); United States v. Edward, 443 F.3d 258, 264 (5th Cir. 2006);
United States v. Cervantes, 132 F.3d 1106, 1110 (5th Cir. 1998)).

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        relief follows automatically once the error is proved. For other “trial” errors,
        the court may grant relief only if the error “had substantial and injurious
        effect or influence” in determining the outcome of the case. If the Court
        finds that the prisoner is entitled to relief, it “shall vacate and set the
        judgment aside and shall discharge the prisoner or resentence [his] or grant
        a new trial or correct the sentence as may be appropriate. 22

                                       LAW AND ANALYSIS

        Andrew moves to vacate, set aside, or correct his sentence on the grounds that (1)

his conviction not supported by sufficient evidence, and (2) his counsel was ineffective

and coerced Andrew into signing his plea agreement. Neither argument is meritorious.

I.      Sufficiency of the Evidence

        Andrew argues that he is actually innocent of the crimes to which he pleaded

guilty. 23 In support of this argument, Andrew makes several uncorroborated assertions.

In an affidavit attached to his motion, Andrew states that he was not at the location of the

arson at the time in question, and accuses his co-defendants of lying as to his involvement

in the criminal offenses. 24

        Andrew is unable to raise this argument in a § 2255 motion, however, because he

waived his right to collateral review. So long as the waiver was knowing and voluntary, a

defendant’s “claims regarding the sufficiency of the government’s evidence . . . are not

valid grounds for relief under 28 U.S.C. 2255 after a guilty plea.” 25

        Andrew’s plea agreement states that he:

        [w]aives and gives up his right to challenges his sentence collaterally,
        including but not limited to any and all rights which arise under Title 28,
        United States Code, Sections 2244 and 2241, Rule 60 of the Federal Rules
        of Civil Procedure, Rule 36 of the Federal Rules of Criminal procedure, writs


22 Caston, 2013 WL 3933400 at *2.
23 R. Doc. 329.
24 R. Doc. 329 at 5. Many of Andrew’s allegations are made without factual context or reference to the record.

Accordingly, it is difficult to assess the veracity of these allegations on their face.
25 United States v. Walker, 2012 WL 4415357 (E.D. La. Sept. 24, 2012).


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        of coram nobis and audita querala, and any other collateral challenges to his
        sentence of any kind . . . 26

At Andrew’s rearraignment hearing, the Court engaged in an extensive colloquy to ensure

that Andrew understood the consequences of his plea agreement. Andrew repeatedly

affirmed that his waiver of his appeal rights was knowing and voluntary:

        THE COURT: Do you understand that under your plea agreement you have
        expressly waived your right a direct appeal as set forth in the plea
        agreement, but that you are not waiving your right to appeal a sentence
        imposed in excess of the statutory maximum?
        THE DEFENDANT: Yes, your Honor.
        THE COURT: Do you also understand that you can only bring a post
        conviction proceeding if you can show that ineffective assistance of counsel
        affected the validity of your guilty plea or your waiver of appeal and
        collateral challenge rights?
        THE DEFENDANT: Yes, your Honor.
        THE COURT: Has your attorney advise you of your appeal rights and the
        affect [sic] of waiving those rights?
        THE DEFENDANT: Yes, your Honor.
        THE COURT: Do you voluntarily agree to waive your appeal rights as set
        forth in the plea agreement?
        THE DEFENDANT: Yes, your Honor.

In denying Andrew’s direct appeal, the Fifth Circuit found “the record reflects that

Andrew knew that he had a right to appeal and that he was giving up that right; thus the

waiver was knowing and voluntary.” 27 Although the Fifth Circuit did not consider

Andrew’s collateral review waiver, the Court finds that the record is likewise clear.

Contrary to Andrew’s assertions, there is no indication that his plea agreement was not

knowing and voluntary. Accordingly, his plea agreement bars his present motion under §

2255.

        Even if Andrew had not waived his collateral rights, his claim alleging insufficient

evidence is foreclosed by Fifth Circuit precedent. “A challenge to the sufficiency of the



26 R. Doc. 187 at 3.
27 United States v. Andrew, 667 F. App’x 841, 844 (5th Cir. 2016).


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evidence is not cognizable in a § 2255 proceeding.” 28 As a result, Andrew’s claim

challenging the evidentiary basis of his conviction is not cognizable in this proceeding.

II.      Ineffective Assistance of Counsel

        The Fifth Circuit has explained that “[i]n a habeas proceeding alleging ineffective

assistance of counsel, the petitioner has the burden of proof.” 29 Further, to prove a valid

claim for ineffective assistance of counsel, the petitioner must demonstrate both prongs

of the test set forth in Strickland v. Washington, 466 U.S. 668, 687 (1984). As a result,

Andrew must show that: (1) his counsel’s performance was deficient and (2) his counsel’s

deficient performance prejudiced his defense. 30

        In Strickland, the Supreme Court explained:

        Judicial scrutiny of counsel’s performance must be highly deferential. It is
        all too tempting for a defendant to second-guess counsel’s assistance after
        conviction or adverse sentence, and it is all too easy for a court, examining
        counsel’s defense after it has proved unsuccessful, to conclude that a
        particular act or omission of counsel was unreasonable. 31

        As a result, district courts should “indulge a strong presumption that counsel’s

conduct falls within the wide range of professional assistance; that is, the defendant must

overcome the presumption that, under the circumstances, the challenged action might be

considered sound . . . strategy.” 32 With respect to a habeas petition alleging ineffective

performance at sentencing, the Fifth Circuit has explained that Strickland’s deficiency




28 United States v. Duffaut, 2006 WL 2849853 (E.D. La. Sept. 29, 2006) (citing Forrester v. United States,

456 F.2d 905 (5th Cir. 1972).
29 United States v. Chavez, 193 F.3d 375, 378 (5th Cir. 1999) (citing Clark v. Collins, 19 F.3d 959, 964 (5th

Cir. 1994)).
30 See Strickland, 466 U.S. at 687.
31 Id. at 689.
32 Id. (citation and internal quotation marks omitted).


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prong is met when counsel fails to “research facts and law and raise meritorious

arguments based on controlling precedent.” 33

        With respect to the second prong of the Strickland test, the petitioner must

demonstrate that “there is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different. A reasonable probability is

a probability sufficient to undermine confidence in the outcome.” 34 To establish prejudice

in a case involving a guilty plea, the petitioner “must show that there is a reasonable

probability that, but for counsel’s errors, he would not have pleaded guilty and would have

insisted on going to trial.” 35

        In Armstead v. Scott, the Fifth Circuit explained that a petitioner must do more

than merely allege prejudice: “[A] defendant must ‘affirmatively prove’ prejudice. A mere

allegation of prejudice is not sufficient to satisfy the prejudice prong of the Strickland test.

A petitioner must establish that but for his counsel’s alleged erroneous advice, he would

not have pleaded guilty, but would have insisted upon going to trial.” 36

        As the Supreme Court explained in Strickland, if the Court finds that the petitioner

has made an insufficient showing with respect to either of the two required prongs, the

Court may dispose of the claim. 37 Further, the Supreme Court advised that “[i]f it is easier

to dispose of an ineffectiveness claim on the ground of insufficient prejudice, which we

expect will often be so, that course should be followed.” 38




33 United States v. Fields, 565 .3d 290, 296 (5th Cir. 2009) (citing United States v. Conley, 349 F.3d 837,

841 (5th Cir. 2003)).
34 Strickland, 466 U.S. at 694.
35 Hill v. Lockhart, 474 U.S. 52, 59 (1985).
36 37 F.3d 202, 206 (5th Cir. 1994) (internal citations omitted).
37 Strickland, 466 U.S. at 697.
38 Id.


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        Andrew argues his attorney pressured him to accept the plea agreement, asserting,

“[m]y attorney was pressing me to plea[d] guilty or they were going to give me 65 years.” 39

Andrew also argues his attorney was unaware of certain witness statements. 40 However,

Andrew’s assertions contradict his sworn testimony during his plea hearing. The Fifth

Circuit has held “[s]olemn declarations in open court carry a strong presumption of verity,

forming a formidable barrier in any subsequent collateral proceedings.” 41 As a result,

“[i]nmates who challenge their guilty pleas on collateral review must overcome [the]

‘strong presumption of verity’ accorded ‘solemn declarations’ made in open court.” 42

        Andrew’s sworn statements in court undermine the arguments asserted in his §

2255 motion. First, he stated that is attorney in no way pressured him to accept his plea

agreement: 43

        THE COURT: Have you been influenced, induced, or persuaded in any way
        to plead guilty because of any threats made by anyone?
        THE DEFENDANT: No, your honor. 44

Further, he stated that he was satisfied with the performance of his attorney:

        THE COURT: Have you had sufficient time to discuss with your attorney
        the facts of your case and any possible defenses you have?
        THE DEFENDANT: Yes.
        THE COURT: Are you entirely satisfied with the advice and services of your
        attorney?
        THE DEFENDANT: Yes, I am.
        THE COURT: Do you wish to ask or have your attorney ask the U.S.
        Attorney any questions at this time about any of the things we have
        discussed?
        THE DEFENDANT: No. 45

39 R. Doc. 329-1 at 3.
40 Id. Andrew’s assertions related to ineffective counsel are vague and without context, so the precise nature

of his claim is unclear.
41 United States v. Cervantes, 132 F.3d 1106, 1110 (5th Cir. 1998) (quoting Blackledge v. Allison, 431 U.S.

63, 73–74 (1977)) (internal quotation marks omitted).
42 Akpan v. United States, No. 3:04-CR-36-L, 2013 WL 3289237, at *8 (N.D. Tex. June 28, 2013) (quoting

Blackledge, 431 U.S. at 73–74 (1977)).
43 See R. Doc. 276.
44 R. Doc. 301 at 22.
45 Id. at 27.


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        These in-court declarations contradict the uncorroborated assertions made in

Andrew’s § 2255 motion. Accordingly, Andrew has failed to meet his burden of proof

under the Strickland standard.

                                   CONCLUSION

        Accordingly;

        IT IS ORDERED that Defendant Don M. Andrew, Jr.’s Motion under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct Sentence 46 is DENIED.

        New Orleans, Louisiana, this 18th day of December, 2017.


                       ______ ______ _________________
                                SUSIE MORGAN
                        UNITED STATES DISTRICT JUDGE




46 R. Doc. 316.


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